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                                               December 19, 2023


      Via Email
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             Re:     Johnny M. Hunt v. Southern Baptist Convention et al.,
                     U.S.D.C. No. 3:23-cv-0243 (M.D. Tenn.)

      Counsel:

              We are in receipt of Rob’s letter dated December 18, 2023, demanding that the depositions
      of Krista Tongring, Samantha Kilpatrick, Russell Holske, Anthony Collura, and Julie Myers Wood
      be set by agreement prior to December 22. Plaintiff’s demand is contrary to the discussion had by
      counsel on Thursday, December 14, in which counsel discussed the possibility of making available
      for deposition two and possibly three of the Guidepost investigators in one location, despite the
      fact that these individuals have not been properly subpoenaed and do not all live and/or work in
      the same location. By changing the terms of the discussion on the eve of the subsequent meet and
      confer call, which counsel for Plaintiff insisted upon, it is clear that Plaintiff is not serious about
      engaging in legitimate discovery efforts; rather, Plaintiff seeks only to harass Guidepost and its
      high-level executives, notwithstanding the critical fact that Guidepost did not publish the allegedly
      libelous statements with which Plaintiff takes issue.

             In light of the foregoing, Guidepost does not believe today’s meet and confer, set for 11
      am central will be productive, and it is canceling the call. Notwithstanding the cancelation of
      today’s call, Guidepost is prepared to waive service of the required subpoenas and make available
      Ms. Tongring, Ms. Kilpatrick and Mr. Holske for deposition in Washington, D.C., at dates and




     Case 3:23-cv-00243          Document 100-9         Filed 01/09/24      Page 1 of 2 PageID #: 1113
December 19, 2023
Page 2

times convenient to all parties. Guidepost will not make available Mr. Collura or Ms. Myers Wood
for deposition unless there is an objective, legitimate factual basis to do so following the
depositions of the three investigators. We would remind you that Rob approved of this approach
during our call last week, himself suggesting that the parties could reserve the right to hold a meet
and confer on the subject of relevance after the depositions of Ms. Kilpatrick, Mr. Holske, and Ms.
Tongring. Further, Guidepost will not agree that Plaintiff should be entitled to take more than the
allotted 10 depositions mandated by the Federal Rules.

                                                      Very truly yours,

                                                      /s Katharine R. Klein

                                                      Katharine R. Klein

cc:    All counsel of record




Case 3:23-cv-00243        Document 100-9         Filed 01/09/24      Page 2 of 2 PageID #: 1114
